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Case 4:18-cr-06036-SMJ ECF No. 47

Joseph H. Harrington

United States Attorney

Eastern District of Washington
David M. Herzog

Assistant United States Attorney
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Spokane, WA 99210-1494
Telephone: (509) 353-2767

filed 10/11/18 PagelD.196 Page 1 of 24

FILED iM THE
US. DISTRICT COURT .
EASTERN DISTRICT OF WASHINGTON

OCT 11 2018

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RICHLAND, WASHINGTON

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,

Plaintiff,
V.
JONATHAN PAUL HOLDEN,
Defendant.

Plaintiff United States of America, by and through Joseph H. Harrington, United
States Attorney for the Eastern District of Washington, and David M. Herzog, Assistant

No. 4:18-CR-6036-SMJ-1
Plea Agreement

Pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(C)

Global Disposition with the
State of Washington

Court:

 

Hon. Salvador Mendoza, Jr.

United States Attorney, and the State of Washington, by and through Andy Miller,

Prosecuting Attorney for Benton County, Washington, and Diana Ruff, Deputy

Prosecuting Attorney, and by and through Larry Haskell, Prosecuting Attorney for

Spokane County, Washington, and Eugene Cruz, Deputy Prosecuting Attorney, and
Defendant Jonathan Paul Holden (“Defendant”), both individually and by and through

his counsel, Andrea George, Federal Public Defender, and Catherine Harkins,

Washington State counsel, agree to the following Plea Agreement:

HOLDEN PLEA AGREEMENT — 1

 

 
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Introduction

Defendant has been charged in state and federal court with a number of child
exploitation offenses, and he faces additional exposure for uncharged conduct.

On June 20, 2018, a federal Grand Jury returned an Indictment charging
Defendant with Attempted Online Enticement of a Minor, in violation of 18 U.S.C.

§ 2422(b) (Count One), Production and Attempted Production of Child Pornography, in
violation of 18 U.S.C. § 2251(a), (e) (Counts Two, Three, and Four), Receipt of Child
Pornography, in violation of 18 U.S.C. § 2252A(a)(2) (Count Five), and Possession of
Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B) (Count Six).

In February 2018, Defendant was charged in Benton County with Attempted
Rape of a Child in the Second Degree, in violation of RCW 9A.44.050, and faces
additional exposure for Communications with a Minor for Immoral Purposes, in
violation of RCW 9.68A.090. In addition, during the course of this investigation, law
enforcement officers learned new information that could lead to additional charges in
Spokane County for Child Molestation in the Second Degree, in violation of RCW
9A.44.086.

Defendant wishes to resolve all of these actual and potential federal and state
charges as part of a single, global resolution. The United States Attorney’s Office for
the Eastern District of Washington and the Prosecuting Attorney’s Offices for Benton
and Spokane Counties agree to such a resolution, as set forth herein.

1. Guilty Plea and Maximum Statutory Penalties:

a. Federal Charges

Defendant agrees to plead guilty, pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C), to Counts One through Four of the federal Indictment filed on June 20,
2018, charging him with Attempted Online Enticement of a Minor, in violation of 18
U.S.C. § 2422(b) (Count One), Production of Child Pornography, in violation of 18
U.S.C. § 2251(a), (e) (Counts Two and Three), and Attempted Production of Child
Pornography, in violation of 18 U.S.C. § 2251(a), (e) (Count Four).

HOLDEN PLEA AGREEMENT -— 2

 
Co Oo YN DH Wn FBP W LPO —

 

 

 

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Defendant understands that the charge in Count One, Attempted Online
Enticement of a Minor, is a Class A felony. Defendant understands that the maximum
penalty for this charge is life in prison, and that the Court must impose a mandatory
minimum sentence of no fewer than 10 years in prison. Defendant understands that he
will also be subject to a fine of up to $250,000; a term of supervised release that will be
at least 5 years, and may be up to a lifetime; restitution; a $100 special penalty
assessment per count, and registration as a sex offender. Defendant also understands
that absent a finding of indigence by the Court, he will be subject to a $5,000 special
assessment per count, pursuant to the Justice for Victims of Trafficking Act of 2015.

Defendant understands that each of the charges in Counts Two, Three, and Four,
Production of Child Pornography and Attempted Production of Child Pornography, is a
Class B felony. Defendant understands that the maximum penalty for each of these
charges is 30 years in prison, and that the Court must impose a mandatory minimum
sentence of no fewer than 15 years in prison on each of these charges. Defendant
understands that he will also be subject to a fine of up to $250,000 per count; a term of
supervised release that will be at least 5 years, and may be up to a lifetime; restitution; a
$100 special penalty assessment per count, and registration as a sex offender.
Defendant also understands that absent a finding of indigence by the Court, he will be
subject to a $5,000 special assessment per count, pursuant to the Justice for Victims of
Trafficking Act of 2015.

Accordingly, if Defendant were sentenced consecutively on all of his federal
charges, he would face a maximum sentencing exposure of a lifetime in prison, a
lifetime of supervised release, a fine of up to $1 million, restitution, $400 in standard
special assessments, and up to $20,000 in Special Assessments pursuant to the Justice
for Victims of Trafficking Act of 2015.

Defendant understands that a violation of any condition of supervised release
carries an additional penalty of re-imprisonment for all or part of the term of supervised

release without credit for time previously served on post-release supervision.

HOLDEN PLEA AGREEMENT - 3

 
 

So Oo NTN HK WH FP WW LY

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Co YD ONO A BW NY KF CO OO ON DBNmA FP WY NY KF OS

 

 

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Defendant further understands that a violation of a condition of his federal
supervised release carries an additional penalty of re-imprisonment for all or part of the
term of supervised release, pursuant to 18 U.S.C. § 3583(e)(3), without credit for time
previously served on post-release supervision. Defendant further understands that if he
commits a qualifying offense while on federal supervised release while registered as a
sex offender, the Court will be required by 18 U.S.C. § 3583(k) to revoke his supervised
release and impose a sentence of at least five years. Defendant also understands that he
will be required to pay restitution and register as a sex offender.

b. State Charges

Following the entry of his guilty plea in federal court, Defendant agrees to plead
guilty in Benton County Superior Court to one count of Communications with a Minor
for Immoral Purposes (Felony), in violation of RCW 9.68A.090(2), (3), arising from his
conduct in Benton County, and to one count of Child Molestation in the Second Degree,
in violation of RCW 9A.44.086, arising from his conduct in Spokane County. The
crimes to which Defendant will plead guilty in Benton County are not subject to the
Washington State indeterminate sentencing scheme set forth in RCW 9.94A.507.
Defendant agrees to waive all jurisdictional and venue challenges to these charges.

Cc. Consecutive Sentencing Exposure

Defendant understands that his maximum sentencing exposure would include
consecutive sentences on all of his state and federal convictions.

2. The Court is Not a Party to the Agreement:

The Court is not a party to this Plea Agreement and may accept or reject this Plea
Agreement. Sentencing is a matter that is solely within the discretion of the Court.
Defendant understands that the Court is under no obligation to accept any
recommendations made by the United States or Defendant; that the Court will obtain an
independent report and sentencing recommendation from the U.S. Probation Office; and
that the Court may, in its discretion, impose any sentence it deems appropriate up to the

statutory maxima stated in this Plea Agreement.

HOLDEN PLEA AGREEMENT - 4
So Oe ND OH FP WOW NY

NO pO WN WN HN KN NY ND KN HB HF HF KF KF KF FSF FEF ES
oN KN MN BP WO NY KF CO CO HN DH FP WD VY KF O&O

 

 

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Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the United States
and Defendant agree that the appropriate disposition of the case is 20 years in custody,
to be followed by 20 years of supervised release, and agree to make those
recommendations to the Court. Pursuant to this Plea Agreement, the Benton County
Prosecutor’s Office agrees to recommend that Defendant’s sentences in Benton County
run concurrently to his federal sentence and the Spokane County Prosecutor’s Office
agrees not to file charges arising from the same conduct. Defendant acknowledges that
no promises of any type have been made to him with respect to the sentence the Court
will ultimately impose. Defendant understands that the Court is required to consider the
applicable Sentencing Guidelines range, but may depart upward or downward.

Defendant acknowledges that this Plea Agreement is entered pursuant to Fed. R.
Crim. 11(c)(1)(C). Defendant understands that he may withdraw from this Plea
Agreement if the Court imposes a term of imprisonment greater than 20 years or a term
of supervised release greater than 20 years. Defendant also understands that the United
States may withdraw from this Plea Agreement if the Court imposes a term of
imprisonment of less than 20 years or a term of supervised release of less than 20 years.
Defendant acknowledges that if either the United States or Defendant withdraws from
this Plea Agreement, the Plea Agreement becomes a nullity, and neither the United
States, the Benton County Prosecutor’s Office, nor the Spokane County Prosecutor’s
Office are bound by any representations within it.

The United States and Defendant acknowledge that the imposition of a fine,
restitution, or conditions of supervised release are not part of the Rule 11(c)(1)(C)
nature of this Plea Agreement; that the parties are free to make any recommendation
they deem appropriate as to the imposition of a fine, restitution, or conditions of
supervised release; and that the Court will exercise its discretion with regard to the
imposition of a fine, restitution, or conditions of supervised release. Defendant
acknowledges that he may not withdraw from this Plea Agreement based on the Court’s

decisions regarding a fine, restitution, or conditions of supervised release.

HOLDEN PLEA AGREEMENT -— 5
 

0 oN DWH BW NH

NON wNO NH HN WN KN WKN NN NN KR HK KF HK KF KF KF KF KS
on HN NN BP WY NO KF CO OBO THN Dn FP WD YP KF O&O

 

 

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3. Effect on Immigration Status:

Defendant recognizes that pleading guilty may have consequences with respect to
his immigration status if he is not a citizen of the United States. Under federal law, a
broad range of crimes may be removable offenses, including the offense to which
Defendant is pleading guilty. Removal and other immigration consequences are the
subject of a separate proceeding, however, and Defendant understands that while
deportation and/or removal appears to be a virtual certainty if he is not a citizen of the
United States, no one, including his attorney or the District Court, can predict with
absolute certainty the effect of his conviction on his immigration status. Defendant
nevertheless affirms that he wants to plead guilty regardless of any immigration
consequences that his plea may entail, even if automatic removal from the United States
is a virtual certainty if he is not a United States citizen.

4. Waiver of Constitutional Rights:

Defendant understands that by entering this plea of guilty, Defendant is

knowingly and voluntarily waiving certain constitutional rights, including:

a. The right to a jury trial;
b. The right to see, hear and question the witnesses;
c. The right to remain silent at trial;

d. The right to testify at trial; and
é. The right to compel witnesses to testify.

While Defendant is waiving certain constitutional rights, Defendant understands
that Defendant retains the right to be assisted through the sentencing and any direct
appeal of the conviction and sentence by an attorney, who will be appointed at no cost if
Defendant cannot afford to hire an attorney. Defendant specifically waives his right to
challenge the constitutionality of any of the statutes of conviction.

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HOLDEN PLEA AGREEMENT -— 6
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on DR WH F&F WHY KF OD DO FAN Da” FW NY - &

 

 

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5. Elements of the Offenses:

Count One: Attempted Online Enticement of a Minor

To convict Defendant of Attempted Online Enticement of a Minor, in violation of

18 U.S.C. § 2422(b), the United States would have to prove the following elements

beyond a reasonable doubt:

a.

d.

First, on or about February 6, 2018, within the Eastern District of
Washington, Defendant used a facility or means of interstate
commerce in an attempt to persuade, induce, or entice an individual
under the age of eighteen to engage in sexual activity;

Second, Defendant believed that the individual was under the age of
eighteen;

Third, if Defendant had engaged in sexual activity with that
individual, Defendant could have been charged with a criminal
offense under the laws of the State of Washington; and

Fourth, Defendant acted knowingly and willfully.

Count Two: Production of Child Pornography

To convict Defendant of Production of Child Pornography, in violation of 18

U.S.C. § 2251(a), (e), the United States would have to prove the following elements

beyond a reasonable doubt:

a.

First, at the time of the offense, Minor Victim S.N. was under the
age of eighteen;

Second, on or about February 23, 2016, and continuing through on
or about April 1, 2016, within the Eastern District of Washington
and elsewhere, Defendant persuaded, induced, and enticed Minor
Victim S.N. to take part in sexually explicit conduct for the purpose
of producing visual depictions of such conduct; and

Third, the visual depictions were transported across state lines or in

foreign commerce.

HOLDEN PLEA AGREEMENT -— 7
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NY wo PN HO HN WN KN KN NO RR HK HK KF KF KF Rr Se
Co oN DB ON BR WwW NY KF OO ON Dn BP WW NY KF &

 

 

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Count Three: Production of Child Pornography

To convict Defendant of Production of Child Pornography, in violation of 18

U.S.C. § 2251(a), (e), the United States would have to prove the following elements

beyond a reasonable doubt:

a.

First, at the time of the offense, Minor Victim K.O. was under the
age of eighteen;

Second, on or about February 5, 2018, and continuing through on or
about February 6, 2018, within the Eastern District of Washington
and elsewhere, Defendant persuaded, induced, and enticed Minor
Victim K.O. to take part in sexually explicit conduct for the purpose
of producing visual depictions of such conduct; and

Third, the visual depictions were transported across state lines or in

foreign commerce.

Count Four: Attempted Production of Child Pornography

To convict Defendant of Attempted Production of Child Pornography, in
violation of 18 U.S.C. § 2251(a), (e), the United States would have to prove the

following elements beyond a reasonable doubt:

a.

First, at the time of the offense, Minor Victim R.R. was under the
age of eighteen;

Second, on or about February 5, 2018, within the Eastern District of
Washington and elsewhere, Defendant attempted to persuade,
induce, and entice Minor Victim R.R. to take part in sexually
explicit conduct for the purpose of producing visual depictions of
such conduct; and

Third, Defendant knew or had reason to know that the visual
depictions would be transported across state lines or in foreign

commerce.

HOLDEN PLEA AGREEMENT - 8
 

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oN KN MN BR WH WY KH TO BO WBNAINH KDA FW VY KF S&

 

 

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6. Factual Basis and Statement of Facts:

The United States and Defendant stipulate and agree that the following facts are
accurate; that the United States could prove these facts beyond a reasonable doubt at
trial; and that these facts constitute an adequate factual basis for Defendant’s guilty
plea. This statement of facts does not preclude either party from presenting and
arguing, for sentencing purposes, additional facts which are relevant to the Guidelines

computation or sentencing, unless otherwise prohibited in this Agreement.

Count One: Attempted Online Enticement of a Minor; Communications with a

Minor for Immoral Purposes (Felony)

On February 6, 2018, Defendant posted an advertisement in the Casual
Encounters section of Craigslist, a website known for no-strings-attached sexual
encounters. Defendant titled his advertisement “Let me lick your pussy - m4w
(Richland).” Defendant explicitly stated what sexual acts he sought, and in the text of
his advertisement he stated “age, size, race, looks, marital status not important.”

Detective William Dramis of the Kennewick Police Department, who is cross-
designated as a federal Task Force Officer (“TFO”) with the Southeast Washington
Regional Internet Crimes Against Children (“ICAC”) Task Force, responded to
Defendant’s advertisement in an anonymous and undercover capacity, taking on the
persona of a 13-year-old girl. Defendant believed that the person with whom he was
communicating was actually a 13-year-old girl. Defendant communicated with
Detective Dramis using the Internet, which is a means and facility of interstate
commerce, in an attempt to persuade, induce, entice, and coerce the purported 13-year-
old girl to engage in sexual activity after learning that she was 13 years old.

Defendant told the purported girl that he would be waiting for her at a nearby
Arby’s restaurant, confirmed what each of them would be wearing so they could
identify one another, and discussed some of the consequences of them engaging in a

sexual encounter, including pregnancy. Law enforcement officers went to the Arby’s

HOLDEN PLEA AGREEMENT — 9
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NO wpoO ND HN HV NHN WN NHN NN HF HH HH KH RF KF RF FF ES
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restaurant at the appointed time to meet Defendant, who continued to communicate with
Det. Dramis. Defendant also-wenttoArby’s+e-meet the girk. “nig AK GAD

Det. Dramis, continuing to play the persona of the girl, told Defendant that she
had gotten scared and had gone to a nearby boat dock. Det. Dramis specifically said
“T’m by the bathroom”. Defendant responded “If you want your pussy licked walk back
over here”. Defendant asked “How will i know who you are?”, to which Det. Dramis
replied, “I’m the only girl here.” Defendant went to the bathroom by the boat dock, and
the officers arrested him without incident.

Defendant acknowledges that, using the Internet, which is a means and facility of
interstate commerce, he knowingly and willfully communicated with a person he
believed to be younger than 18 years old in an attempt to persuade, induce, and entice
her to engage in a sexual activity that would constitute a criminal offense under the laws
of the State of Washington. Specifically, Defendant acknowledges that, pursuant to the
Revised Code of Washington, Section 9A.44.076, “A person is guilty of rape of a child
in the second degree when the person has sexual intercourse with another who is at least
twelve years old but less than fourteen years old and not married to the perpetrator and
the perpetrator is at least thirty-six months older than the victim.” Defendant agrees and
stipulates that if the sexual activity Defendant discussed had happened, Defendant could
have been charged with Rape of a Child in the Second Degree under Washington law.

Production and Attempted Production of Child Pornography

During their examination of Defendant’s digital devices and accounts, law
enforcement officers learned that over the course of several years, Defendant had
communicated on various online platforms with bona fide minor victims, including S.N.
(a 13-year-old girl in Atlanta), K.O. (a 15-year-old girl in Las Vegas), and R.R. (a 17-
year-old girl in Houston). With each of these victims, Defendant solicited images of
child pornography of each victim after learning that she was a minor; that is, he

persuaded, induced, and enticed each of them to take part in sexually explicit conduct

HOLDEN PLEA AGREEMENT -— 10

 
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for the purpose of producing visual depictions of such conduct and then asked them to
send the images to him across state lines using the Internet, which is a facility and
means of interstate commerce. Defendant acknowledges that he received and possessed

the images of child pornography that his victims sent him.

Count Two: Production of Child Pornography with Victim S.N.

Between February 23 and April 1, 2016, Defendant communicated online with
S.N., a minor girl who was 13 years old, who had told Defendant that she was 17 years
old. Defendant engaged in a detailed rape fantasy with S.N., sent her images of his
erect penis, and explicitly told S.N. that he wanted to see her in pornography and
wanted to see her genitalia. Defendant requested images of S.N. engaged in various
sexual acts that would constitute images of child pornography under federal law. S.N.

did in fact take and send Defendant images of child pornography as he requested.

Count Three: Production of Child Pornography with Victim K.O.

Beginning on February 5, 2018, and continuing until his arrest the next day,
Defendant chatted online with victim K.O., who was 15 years old. Before learning how
old K.O. was, Defendant asked her to “Send daddy a live pic plz kitten”. Defendant
then asked how old K.O. was, and she said she was 17 years old. She asked if her age
was okay, and Defendant replied it was “perfect”. After learning that K.O. was a
minor, Defendant asked her for images of child pornography, including images of her
naked in the shower, shaving her genitalia, masturbating, urinating, and engaging in
acts of bestiality. K.O. did in fact take images of child pornography and send them to

Defendant as he requested.

Count Three: Attempted Production of Child Pornography with Victim R.R.
On the same day, February 5, 2018, Defendant also engaged with another minor

girl via an online chat platform and requested images of child pornography that she

HOLDEN PLEA AGREEMENT - 11

 
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declined to send. As “pnwbj123 Paul,” Defendant communicated with minor victim
R.R., who told him truthfully that she was 17 years old. Defendant requested that she
make him a video where she would, “Play with [her] tits and pussy” and “Squirt for
[him]”. Defendant offered to pay R.R. $500 a week because, as he put it, “I want a long
term little. Hopefully we can meet someday and fuck”. R.R. told him “Sorry, I think
maybe I’m looking for something less sexual” and discontinued the conversation. R.R.
did not produce or send Defendant any images of child pornography, but Defendant
acknowledges that he attempted to get her to produce images that would constitute child

pornography under federal law and send them to her over the Internet.

Child Molestation in the Second Degree in Spokane County

Defendant acknowledges that he touched a 13-year-old girl in Spokane County,
Washington, sexually, inappropriately, and without her consent, which constitutes the
factual predicate for Defendant’s Child Molestation in the Second Degree. The identity

of the victim is known to Defendant.

7. The United States Agrees To Dismiss and Not File Additional Charges:

The United States Attorney’s Office for the Eastern District of Washington
agrees not to bring any additional charges against Defendant based on information in its
possession at the time of this Plea Agreement and arising out of Defendant’s conduct
involving illegal activity charged in the Indictment, unless Defendant breaches this Plea
Agreement prior to sentencing in this case. Defendant understands that the United
States is free to criminally prosecute him for any other past unlawful conduct or any
unlawful conduct that occurs after the date of this Plea Agreement that was not known
to the United States Attorney’s Office on the date of Defendant’s guilty plea.

At sentencing, the United States agrees to dismiss Counts Five and Six of the

Indictment filed on June 20, 2018, which charge Defendant with the following:

HOLDEN PLEA AGREEMENT - 12

 
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oN DN MW BW NYO KF TD OBO DBNATQH BD Un FW YY | &

 

 

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a. Count Five: Receipt of Child Pornography, in violation of 21 U.S.C.
§ 2252A(a)(2)(A), (b)(1) (carrying a five-year mandatory minimum
sentence); and

b. Count Six: Possession of Child Pornography, in violation of 21
U.S.C. § 2252A(a)(5)(B), (b)(2).

8. United States Sentencing Guideline Calculations:

Defendant understands that the advisory United States Sentencing Guidelines
(hereinafter “U.S.S.G.”) are applicable to this case and that the Court will determine his
applicable sentencing guideline range at the time of sentencing. The United States and
Defendant agree that Defendant’s base offense level, enhancements, and adjustments
yield an overall offense level of 43 under the United States Sentencing Guidelines.

a. Base Offense Level and Enhancements Under Chapters 2 and 3:

The parties agree to the following offense level and enhancement calculations:

Attempted Online Enticement, in violation of 18 U.S.C. § 2422(b):

 

 

 

 

Base Offense Level and Adjustments Guideline Section
Attempted Enticement 28 | U.S.S.G. § 2G1.3

Use of a Computer +2 | U.S.S.G. § 2G1.3(b)(3)
Total 30

 

Production of Child Pornography in violation of 18 U.S.C. § 2251 (a):

 

 

 

Base Offense Level and Adjustments Guideline Section
Child Pornography Production 32 | U.S.S.G. § 2G2.1(a)
Victims Between 12-16 years old +2 | U.S.S.G. § 2G2.1(b)(1)

 

Sexual contact (S.N. and K.O. touched their genitalia | +2 | U.S.S.G. § 2G2.1(b)(2)(A)
for Defendant’s sexual gratification)

 

 

 

 

 

 

 

 

 

 

Use of a computer to solicit participation +2 | U.S.S.G. § 2G2.1(b)(6)(B)
Total 38

Attempted Production of Child Pornography in violation of 18 U.S.C. § 2251 (a):

| Base Offense Level and Adjustments Guideline Section
Child Pornography Production 32 | U.S.S.G. § 2G2.1(a)
Use of a computer to solicit participation +2 | U.S.S.G. § 2G2.1(b)(6)(B)
Total 34

 

 

HOLDEN PLEA AGREEMENT - 13
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oD ONO NH BW NYO KF CO CO ON DH A FP WW YP KF SO

 

 

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b. Grouping Analysis Under U.S.S.G. § 3D1.4:

The United States and Defendant agree that: (a) Defendant’s conduct includes
three counts of Production or Attempted Production of Child Pornography with
different victims; (b) those counts do not group; and (c) the offense levels for those
three counts are level 38, level 38, and level 34. Accordingly, the United States and
Defendant agree that Defendant accrued 3 Units pursuant to U.S.S.G. § 3D1.4. The
United States and Defendant also agree that Defendant’s conviction for Attempted
Online Enticement has a base offense level 8 levels lower than highest level attributed
to his Production of Child Pornography conviction, yielding an additional 1/2 Unit
pursuant to U.S.S.G. § 3D1.4. The United States and Defendant agree that 3 2 Units
result in a 4-level increase pursuant to U.S.S.G. § 3D1.4. Accordingly, the United
States and Defendant agree that Defendant’s highest offense level of 38 is increased by
4 levels, yielding an offense level of 42. U.S.S.G. § 3D1.4.

C. Acceptance of Responsibility:

If Defendant pleads guilty and demonstrates a recognition and an affirmative
acceptance of personal responsibility for the criminal conduct; provides complete and
accurate information during the sentencing process; does not commit any obstructive
conduct; accepts this Plea Agreement; and signs and provides this Plea Agreement for
filing with the court prior to October 11, 2018, the United States will move for a three-
level downward adjustment in offense level for Defendant’s timely acceptance of
responsibility, pursuant to U.S.S.G. § 3E1.1(a) and (b).

Defendant and the United States agree that the United States may at its option
and upon written notice to Defendant, not recommend a three-level downward
reduction for acceptance of responsibility if, after Defendant’s guilty plea but prior to
the imposition of sentence, Defendant is charged or convicted of any criminal offense

or tests positive for any controlled substance.
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HOLDEN PLEA AGREEMENT - 14

 
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Based on the foregoing, the United States and Defendant agree that Defendant’s
offense level, before the application of adjustments pursuant to Chapters 4 and 5 of the
United States Sentencing Guidelines, is level 39.

d. Chapter 4 Adjustments:

 

The United States and Defendant agree that: (a) Defendant’s instant offense
includes a conviction for a covered sex crime, namely Attempted Online Enticement of
a Minor, in violation of 18 U.S.C. § 2422(b), which is in Chapter 117 of Title 18 of the
United States Code; (b) neither U.S.S.G. § 4B1.1 or 4B1.5(a) applies to this case; and
(c) Defendant engaged in a pattern of activity involving prohibited sexual conduct,
based on his production of child pornography on at least two separate occasions with
two separate victims, namely, S.N. and K.O. Accordingly, Defendant’s adjusted
offense level is increased by 5 levels, pursuant to U.S.S.G. § 4B1.5(b)(1). The United
States and Defendant agree that Defendant’s offense level, prior to the application of
adjustments under Chapter 5, is level 44.

e. Chapter 5 Adjustments:

 

The United States and Defendant agree that Defendant’s total offense level of 44
is treated as offense level 43. U.S.S.G. Chapter 5, Part A, Application Note 2. The
United States and Defendant agree that Defendant’s final adjusted offense level is 43.

f. Criminal History:

The United States and Defendant understand that Defendant’s criminal history
computation is tentative and that ultimately Defendant’s criminal history category will
be determined by the Court after review of the Presentence Investigative Report.

The United States and Defendant have made no agreement and make no
representations as to the criminal history category, which will be determined after the
Presentence Investigative Report is completed.

9. Incarceration:

The United States and Defendant agree that this plea agreement is entered

pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), and that the appropriate

HOLDEN PLEA AGREEMENT — 15

 
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disposition of the case is a sentence of 20 years of incarceration, to be followed by 20
years of supervised release. The United States and Defendant agree to jointly
recommend such a sentence.

10. Supervised Release:

The United States and Defendant each agree to recommend that the Court impose
a 20-year term of supervised release to include the following special condition, in
addition to the standard conditions of supervised release and the special conditions of
supervised release that are imposed in all child sex offender cases in this District:

a. The United States Probation Officer may conduct, upon reasonable
suspicion, and with or without notice, a search of Defendant’s
person, residences, offices, vehicles, belongings, and areas under
Defendant’s exclusive or joint control.

b. | Defendant shall report to the Probation Office any and all electronic
communications service accounts, as defined in 18 U.S.C.

§ 2510(15) used for user communications, dissemination and/or
storage of digital media files (i.e. audio, video, images). This
includes, but is not limited to, email accounts, social media
accounts, and cloud storage accounts. Defendant shall provide each
account identifier and password, and shall report the creation of new
accounts, changes in identifiers and/or passwords, transfer,
suspension and/or deletion of any account within 5 days of such
action. Failure to provide accurate account information may be
grounds for revocation. The Probation Office is permitted to access
and search any accounts using Defendant’s credentials pursuant to
this condition only when reasonable suspicion exists that Defendant
has violated a condition of his supervision and that the accounts to

be searched contain evidence of this violation.

HOLDEN PLEA AGREEMENT -— 16

 

 
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11. Criminal Fine:

The United States and Defendant are free to make whatever recommendation
conceming the imposition of a criminal fine that they believe is appropriate.

12. Mandatory Special Penalty Assessment:

Defendant agrees to pay the $400 mandatory special penalty assessment to the
Clerk of Court for the Eastern District of Washington, at or before sentencing, pursuant
to 18 U.S.C. § 3013 and shall provide a receipt from the Clerk to the United States
before sentencing as proof of this payment.

13. Payments While Incarcerated:

If Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, Defendant agrees to earn the money to pay toward these
obligations by participating in the Bureau of Prisons’ Inmate Financial Responsibility
Program.

14. Restitution:

The United States and Defendant will submit restitution information prior to
sentencing; Defendant acknowledges that restitution is mandatory. Defendant agrees to
pay restitution to the victims in this case if they seek it, including S.N., K.O., R.R., and
the minor girl in Spokane whom Defendant admits to touching inappropriately and
sexually during the conduct from which Defendant’s Child Molestation in the Second
Degree charge arises.

15. Judicial Forfeiture:

Defendant agrees to voluntarily forfeit and relinquish all right, title, and interest
he has in the following listed assets to the United States, including but not limited to the
following:

- One Apple iPhone 7 Plus cellular telephone, model number A1784, serial
number F2LTH13NHX9K; and

- One Apple iPad Air tablet device, model number MF004, serial number
DMPPS4S1F4YF.

HOLDEN PLEA AGREEMENT — 17

 

 
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Defendant stipulates that he is the sole owner of the assets identified herein and
that no one else has an interest in the assets.

Defendant acknowledges that the assets listed above, which Defendant is
agreeing to forfeit, are subject to forfeiture pursuant to 18 U.S.C. § 2428, as property
used or intended to be used in any manner or part to commit or to facilitate the
commission the offense, Attempted Enticement of a Minor (Count One) in violation of
18 U.S.C. § 2422(b), to which Defendant is pleading guilty; and, pursuant to 18 U.S.C.
§ 2253, as property used or intended to be used in any manner or part to commit or to
facilitate the commission the offenses, Production or Attempted Production of Child
Pornography (Counts Two through Four), in violation of 18 U.S.C. § 2251(a),(e), to
which Defendant is pleading guilty.

Defendant agrees to take all steps as requested by the United States to pass clear
title to the assets to the United States and to testify truthfully in any forfeiture
proceedings. Defendant agrees to hold harmless all law enforcement agents and the
United States, its agents, and its employees from any claims whatsoever arising in
connection with the seizure, abandonment, or forfeiture of any asset covered by this
Plea Agreement.

Defendant further agrees to waive all constitutional and statutory challenges in
any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds, including
that the forfeiture constitutes an excessive fine or punishment. Defendant knowingly
and voluntarily waives his right to a jury trial on the forfeiture of the assets. Defendant
waives oral pronouncement of forfeiture at the time of sentencing, and any defects that
may pertain to the forfeiture.

Defendant waives further notice of any federal, state, or local proceedings
involving the forfeiture of the seized assets that Defendant is agreeing to forfeit in this

Plea Agreement.

HOLDEN PLEA AGREEMENT — 18

 
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16. Notice of Sex Offender Registration:

Defendant has been advised and understands, that as a convicted sex offender,
under the Sex Offender Registration and Notification Act, a federal law, Defendant
must register and keep the registration current in each of the following jurisdictions: the
location of Defendant’s residence, the location of Defendant’s employment; and, if
Defendant is a student, the location of Defendant’s school. Registration will require
that Defendant provide information that includes name, residence address, and the
names and addresses of any places at which Defendant is or will be an employee or a
student. Defendant understands that Defendant must update Defendant’s registrations
not later than three business days after any change of name, residence, employment, or
student status. Defendant understands that failure to comply with these obligations
subjects Defendant to prosecution for failure to register under federal law, 18 U.S.C.

§ 2250, which is punishable by a fine or imprisonment, or both.

17. Additional Violations of Law Can Void Plea Agreement:

Defendant and the United States agree that the United States may at its option
and upon written notice to Defendant, withdraw from this Plea Agreement or modify its
recommendation for sentence if, after Defendant’s guilty plea and prior to the
imposition of sentence, Defendant is charged or convicted of any criminal offense
whatsoever or if Defendant tests positive for any controlled substance.

18. Waiver of Appeal Rights and Collateral Attack:

Defendant is aware that 18 U.S.C. § 3742 affords Defendant the right to appeal
Defendant’s sentence. Acknowledging this, Defendant knowingly and voluntarily
agrees to waive all constitutional and statutory rights to appeal his conviction and
sentence if the Court sentences Defendant in accordance with the terms of this Rule
11(c)(1)(C) Plea Agreement. Defendant’s appellate waiver includes, but is not limited
to, challenges to the terms of this Plea Agreement, his guilty plea, venue, restitution so
long as it is no greater than $10,000 per victim, Guidelines enhancements, and statutes

of limitation.

HOLDEN PLEA AGREEMENT -— 19

 
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Defendant expressly waives Defendant’s right to file any post-conviction motion
attacking Defendant’s mental competence, plea, conviction, and/or sentence, including
motions pursuant to 28 U.S.C. § 2255, 28 U.S.C. § 2241, and 18 U.S.C. § 3742, except
a motion based on ineffective assistance of counsel arising from information not now
known by Defendant and which, in the exercise of due diligence, could not be known
by Defendant by the time the Court imposes sentence.

If Defendant successfully moves to withdraw or vacate his plea, dismiss the
underlying charges, or reduce or set aside his sentence on the count to which he is
pleading guilty, then: (1) this Agreement shall become null and void; (2) the United
States may prosecute him on any count to which he has pleaded guilty; (3) the United
States may reinstate any counts that have been dismissed, have been superseded by the
filing of an Information, or were not charged because of this Agreement; (4) the United
States may file any new charges that would otherwise be barred by this Agreement; and
(5) the United States may prosecute Defendant on all available charges involving or
arising from the incidents charged in the Indictment. The decision to pursue any or all
of these options is solely in the discretion of the United States Attorney’s Office. By
signing this agreement, Defendant agrees to waive any objections, motions, and
defenses he might have to the United States’ decision, including Double Jeopardy.

In particular, Defendant agrees not to raise any objections based on the passage
of time with respect to any of the counts in the Indictment, including but not limited to,
any statutes of limitation or any objections based on the Speedy Trial Act or the Speedy

Trial Clause of the Sixth Amendment. Defendant specifically waives his right to appeal

‘|| any fine, Special Assessment, or terms of supervised release imposed by the Court.

Nothing in this Agreement shall preclude the United States from opposing any post-
conviction motion for a reduction of sentence or other attack of the conviction or
sentence, including, but not limited to, proceedings pursuant to 28 U.S.C. § 2255.
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HOLDEN PLEA AGREEMENT — 20

 
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19. Global Disposition for Charged Conduct:

The United States has conferred with the Offices of the Prosecuting Attorneys for
Spokane and Benton Counties, Washington, and has obtained confirmation of the
following.

The Benton County Prosecuting Attorney agrees to recommend a sentence of
concurrent custodial time on Defendant’s convictions in Benton County Superior Court
for Communications with a Minor for Immoral Purposes (felony), in violation of RCW
9.68A.090(2), (3), and Child Molestation in the Second Degree, in violation of RCW
9A.44.086, if the following occurs:

a. Defendant pleads guilty in the above-captioned federal case and the
Court accepts Defendant’s guilty plea and Plea Agreement;

b. | This Court imposes a sentence of 20 years of incarceration and 20
years of supervised release as contemplated in this Plea Agreement;

c. Defendant thereafter pleads guilty in Benton County Superior Court
to one charge of Communications with a Minor for Immoral
Purposes (felony), in violation of RCW 9.68A.090(2), (3), and one
count of Child Molestation in the Second Degree, in violation of
RCW 9A.44.086.

The Spokane County Prosecuting Attorney agrees not to file criminal charges
arising from Defendant’s inappropriate sexual touching of the minor girl in Spokane
County referenced in this plea agreement. It is the intent of the parties that Defendant’s
guilty plea in Benton County Superior Court to a charge of Child Molestation in the
Second Degree, in violation of RCW 9A.44.086, will address that conduct.

Defendant agrees not to challenge the substantive or procedural mechanisms
involved in resolving his federal and state matters globally. Specifically, Defendant
waives the right to file any challenges to venue or jurisdiction, or any motion for relief
alleging violations of any state or federal anti-shuffling law, including but not limited to

the Interstate Agreement on Detainers.

HOLDEN PLEA AGREEMENT — 21

 
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Defendant acknowledges that if Defendant withdraws from his federal guilty
plea, all representations from the Spokane and Benton County Prosecutor’s Offices will
be null and void, including a commitment to recommend concurrent time on any federal
sentence that is imposed on Defendant.

The Spokane and Benton County Prosecuting Attorneys make no representations
about prosecution of any future conduct by Defendant, or past criminal conduct that is
not set forth in the factual basis of this Plea Agreement.

The signature of Deputy Prosecuting Attorneys for Spokane and Benton Counties
on this Plea Agreement serves as confirmation of all representations from the Spokane
and Benton County Prosecuting Attorneys.

20. Integration Clause:

The United States and Defendant acknowledge that this document constitutes the
entire Plea Agreement between the United States and Defendant, and no other promises,
agreements, or conditions exist between the United States and Defendant concerning
the resolution of the case. This Plea Agreement is binding only on the United States
Attorney’s Office for the Eastern District of Washington and the prosecuting authorities
in Benton and Spokane Counties, Washington, as set forth herein, and cannot bind other
federal, state, or local authorities. The United States and Defendant agree that this
Agreement cannot be modified except in a writing that is signed by the United States
and Defendant.

Approvals and Signatures

Agreed and submitted on behalf of the United States Attorney’s Office for the

Eastern District of Washington.

Joseph H. Harrington
United States Attorney

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vid M. Herzog ( for Date
ssistant U.S. Attorney

HOLDEN PLEA AGREEMENT — 22

 

 
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Agreed and submitted on behalf of the Benton County Prosecutor’s Office.

 

 

 

 

 

 

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Diana Ruff, (/ bal }

6 Deputy Prosecutin —

7 || Benton County Prosecuting Attomey’s Office

8 Agreed and submitted on behalf of the Spokane County Prosecutor’s Office.

9 Larry Haskell

10 || Spokane County Prosecuting Attorney

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13 || E@gene Cruz JA Date

eputy Prosecuting Attorney

14 pokane County Prosecuting Attorney’s Office

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16 I have read this Plea Agreement and have carefully reviewed and discussed every
\7 part of the agreement with my state and federal attorneys. I understand and voluntarily
18 |) enter into this Plea Agreement. Furthermore, I have consulted with my state and federal
19 attorneys about my rights, I understand those rights, and I am satisfied with the

20 representation of my state and federal attorneys in this case. No other promises or

21 inducements have been made to me, other than those contained in this Plea Agreement
22 and no one has threatened or forced me in any way to enter into this Plea Agreement. I
23 agree to plead guilty because I am guilty.

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HOLDEN PLEA AGREEMENT -— 23

 

 

 
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I have read the Plea Agreement and have discussed the contents of the agreement
with my client. The Plea Agreement accurately and completely sets forth the entirety of
the agreement between the parties. I concur in my client’s decision to plead guilty as
set forth in the Plea Agreement. There is no legal reason why the Court should not
dant’s plea of guilty.

  

 

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Federal Attorney for Defendant
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WU QS S
Catherine Harkins
State Attorney for Defendant

 

 

 

 

HOLDEN PLEA AGREEMENT - 24

 

 

 

 
